 1   David A. Birdsell
     Chapter 7 Panel Trustee
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 5
 6                               UNITED STATES BANKRUPTCY COURT
 7                                        DISTRICT OF ARIZONA
 8   In re:                                             )   Chapter 7
                                                        )
 9
     HELSEL, KENNETH L.                                 )   Case No. 2:18-bk-11413-BMW
10                                                      )
                                                        )   MOTION FOR TURNOVER OF
11                  Debtor(s).                          )   BANKRUPTCY ESTATE PROPERTY,
12                                                      )   PURSUANT TO 11 U.S.C. § 542
                                                        )
13                                                      )
14            The Chapter 7 trustee, David A. Birdsell (“Trustee”), hereby submits this motion for an
15   order directing the Debtor, KENNETH L. HELSEL (the “Debtor”) to turnover bankruptcy
16   estate property, pursuant to 11 U.S.C § 542 and Bankruptcy Rule 7001. The Debtor has failed
17   to provide turnover of the following (“non-exempt property”):
18      1)    2008 Ford Taurus                    (listed to have a value of $1,250)
19      2)    Nascar Collection                   (listed to have a value of $1,300)
        3)    Collector signed jersey & photos    (listed to have a value of $250)
20      4)    Baseball equipment                  (listed to have a value of $150)
        5)    Mechanic tools                      (listed to have a value of $25000 with an exemption of
21                                                $4500)
22      6) Garden tools                           (listed to have a value of $100)

23            This Motion is supported by the accompanying Memorandum of Points and Authorities
24   and the entire record before the Court, all of which are incorporated herein by this reference.
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2                                           BACKGROUND
 3             1.   The Debtor filed his voluntary chapter 7 bankruptcy petition on January 29, 2019
 4   (the “Petition Date”).
 5             2.   Mr. Birdsell is the duly appointed trustee of the Debtor’s bankruptcy case.
 6             3.   The Debtor is obligated to turnover all non-exempt assets to the Trustee upon the
 7   filing of his case.
 8             4.   Despite repeated requests, the Debtor has refused to provide turnover his non-
 9   exempt assets.
10                  PROPERTY OF THE ESTATE; TURNOVER OBLIGATIONS
11             1.   On the Petition Date, pursuant to 11 U.S.C. §541, all property of the Debtor
12   became property of the bankruptcy estate.
13             2.   Pursuant to 11 U.S.C. § 521, the Debtor has an obligation to cooperate with the
14   Trustee so that the Trustee is able to perform his duties and to surrender all property of the estate
15   to the Trustee. 11 U.S.C. § 521(a)(3) and (4).
16             3.   The Debtor is obligated to provide turnover of his non-exempt assets to the
17   Trustee.
18             4.   The Trustee has sent correspondence to the Debtor for turnover of his non-exempt
19   assets.
20             5.   The Debtor has not turned over his non-exempt assets.
21             6.   The Debtor has not complied with the Trustee’s turnover demand.
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 1                                             CONCLUSION
 2             WHEREFORE, the Trustee respectfully requests this Court enter its Order:
 3             A.    Directing the Debtor to immediately turnover to the Trustee his non-exempt
 4   assets;
 5             B.    For such other and further relief this Court deems just and proper under the
 6   circumstances of this case.
 7             Respectfully submitted this 27th day of May 2019.
 8
                                                DAVID A. BIRDSELL, Chapter 7 Trustee
 9
                                                /s/ David A. Birdsell
10
11   Copy of the foregoing *e-mailed/mailed
     This 27th day of May 2019, to:
12
13   *Larry Watson
     United States Trustee
14   230 North First Avenue, Suite 204
     Phoenix, Arizona 85003-1706
15   Larry.Watson@usdoj.gov

16   KENNETH LEONARD HELSEL
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     /s/ David A. Birdsell
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